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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUⅣ IBIA

                                     Holding a Criminal Term

                                Grand Jurv Slvorn in on ⅣIay 7,2019

UNITED STATES OF AⅣ IERICA                           CRIⅣIINAL NO。

               V。

                                                     VIOLAT10NS:
GARY LEE PEKSA,                                      18 UoS.C。   §2252(a)(2)
                                                     (Receipt of Child Porllography)
                       Defendant
                                                     18 UoS.C。   §2252(a)(4)(B)
                                                     (Accessillg Child Porllography
                                                      With lntent to View)

                                                     Forfeiture:18 UoS.C.§ 2253(a)
                                                     21 UoSoC.§ 853(p)

                                       INDICTMENT
       The Grand Jury Charges that:

                                       COUNT ONE
       On or about November 5,2018, in the District of Columbia and elsewhere, the defendant,

GARY LEE PEKSA, knowingly received any visual depiction, to wit: the image depicted with

the file name 'Naughty-young-blonde-dolljpg", using any means and facility of interstate and

foreign commerce, and that such visual depiction has been shipped and transported in and affecting

interstate and foreign commerce, by any means including by computer, and the production of such

visual depiction involved the use of a minor engaging in sexually explicit conduct and such visual

depiction is of such conduct.

       (Receipt of Child Pornography, in violation of Title 18, United States Code, Section
       22s2(a)(2))
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                                        COUNT TWO

       On or about November 5, 2078, in the District of Columbia and elsewhere, the defendant,

GARY LEE PEKSA, knowingly received any visual depiction, to wit: the image depicted with

the file name "Cum-sprayjpg", using any means and facility of interstate and foreign commerce,

and that such visual depiction has been shipped and transported in and affecting interstate and

foreign commerce, by any means including by computer, and the production of such visual

depiction involved the use of a minor engaging in sexually explicit conduct and such visual

depiction is of such conduct.

       (Receipt of Child Pornography, in violation of Title 18, United States Code, Section
       22s2(a)(2))


                                       COUNT THREE

       Between on or about October 11,2018, and July 29,2019, in the District of Columbia and

elsewhere, the defendant, GARY LEE PEKSA, knowingly accessed with intent to view at least

one matter which contains any visual depiction that has been shipped and transported using any

means and facility of interstate and foreign commerce, and that such visual depiction has been

shipped and transported in and affecting interstate and foreign commerce, and the production   of

such visual depiction involved the use of a minor engaging in sexually explicit conduct and such

visual depiction is ofsuch conduct.

       (Accessing Child Pornography with Intent to View, in violation of Title 18, United
       States Code, Section 2252(a)@)(B))
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                                 FORFEITURE ALLEGATION

        1.      Upon conviction      of the offenses    alleged   in   Counts One through Three, the

defendant shall forfeit to the United States any and all matters which contain visual depictions              of

minors engaged in sexually explicit conduct in violation of the charged offenses; any property

constituting or derived from any proceeds the defendant obtained directly or indirectly as a result

of the said violations; and any and all property used or intended to be used in any manner or part

to commit and to promote the commission of the aforementioned violations, including but not

limited to the following:

       (1)      One Motorola Droid     Mini   Serial Number TA6260PGRS

       (2)      One Toshiba Satellite C55D Laptop

       (3)      If any of the property described above as being subject to forfeiture,          as a result   of

any act or omission of the defendant:

                a.     cannot be located upon the exercise of due diligence;

                b.     has been transferred or sold to, or deposited     with,   a   third party;

                c.     has been placed beyond the      jurisdiction of the Court;

                d.     has been substantially diminished in value; or

                e.     has been commingled      with other property that cannot be divided without
                       difficulty;




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    the defendant shall forfeit to the United States any other property of the defendant, up to the value

    of the property described above, pursuant to 21 U.S.C. Section 853(p).

           (Criminal Forfeiture, pursuant to Title    18, United States Code, Section 2253(a) and   Title
           21, United States Code, Section 853(p))


                                                                  A TRUE BILL



                                                                  FOREPERSON
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i Atl5mey for the United States in
l-;1dfor the District of Columbia




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